        Case 1:06-cr-00218-JD   Document 62   Filed 03/12/07   Page 1 of 1




                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal No. 06-cr-218-01-JD

Danilo Deleon


                                  O R D E R


      The assented to motion to reschedule jury trial (document no.

60) filed by defendant Deleon is granted.          Trial is continued as to

all defendants unless an objection is filed on or before March 14,

2007.

      Defendants shall file waivers of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendants in a speedy trial, 18 U.S.C. § 3131(h)(8)(B)(iv), for

the reasons set forth in the motion.

      SO ORDERED.



                                           /s/Joseph A. DiClerico, Jr.
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

Date:    March 13, 2007


cc:   Brian Tucker, Esq.
      Richard Monteith, Jr., Esq.
      Donald Kennedy, Esq.
      Jeffrey Levin, Esq.
      Robert Veiga, Esq.
      U.S. Marshal
      U.S. Probation
